Case 1:16-cv-07175-AJN Document 1-2 Filed 09/14/16 Page 1 of 3




                       EXHIBIT B
              Case 1:16-cv-07175-AJN Document 1-2 Filed 09/14/16 Page 2 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK,


THOMAS P. KOESTLER,
                                               Petitioner,
         v.


MARTIN SHKRELI
,
                                               Respondent.




                            PROPOSED ORDER AND JUDGMENT
         Petitioner, Thomas P. Koestler, having petitioned this Court for an Order and Judgment

pursuant to Sections 6 and 9 of the Federal Arbitration Act, 9 U.S.C. § 1, (a) confirming the

Final Award for Arbitration dated August 2, 2016 (“Final Award”), and (b) entering Judgment

thereon; and the Petitioner having duly come to be heard before this Court; and upon reading the

Petition, dated September 2, 2016, and the Exhibits attached thereto, and after due deliberation,

         Now, upon application of Steven C. Bennett, attorney for Petitioner Dr. Koestler, it is

hereby

         ORDERED, ADJUDGED AND DECREED that the Final Award (a copy of which is

annexed hereto) is confirmed; and it is further

         ORDERED, ADJUDGED AND DECREED that Judgment be entered on behalf of

Petitioner, Dr. Koestler, and against Respondent, Martin Shkreli, in the amount of

$2,587,260.35.
         Case 1:16-cv-07175-AJN Document 1-2 Filed 09/14/16 Page 3 of 3




       ORDERED, ADJUDGED AND DECREED that Petitioner Dr. Koestler shall recover

the costs and disbursements of this proceeding.

       This is the _____ day of _____________, 2016.



                                            _________________________________
                                            United States District Court Judge
                                            Southern District of New York



       JUDGMENT ENTERED:


       __________________________________
       Clerk of the Court




                                                  2
